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12   Attorneys for Defendant
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14                                 UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16
                                                   )
17   IN RE: ROUNDUP PRODUCTS                       ) MDL No. 2741
     LIABILITY LITIGATION                          )
18                                                 ) Case No. 3:16-md-02741-VC
19   Carriere v. Monsanto Co., 3:18-cv-05778       )
     I. Hernandez v. Monsanto Co., 3:16-cv-05750 ) MONSANTO COMPANY’S
20   Johansing v. Monsanto Co., 3:16-cv-05751      ) ADMINISTRATIVE MOTION TO FILE
     Sanders et al. v. Monsanto Co., 3:16-cv-05752 ) UNDER SEAL PORTIONS OF MOTION
21   Wooten v. Monsanto Co., 3:17-cv-01735         ) AND SUPPORTING EXHIBITS RE:
     Calderon v. Monsanto Co., 3:19-cv-01630       ) MONSANTO COMPANY’S MOTION
22
     Harris v. Monsanto Co., 3:16-cv-003199        ) TO EXCLUDE TESTIMONY OF
23   R. Hernandez v. Monsanto Co., 3:16-cv-07364 ) SPECIFIC CAUSATION EXPERTS
     Perkins v. Monsanto Co., 3:16-cv-06025        ) CHARALAMBOS ANDREADIS,
24   Dickey et al. v. Monsanto Co., 3:19-cv-04102 ) CLAYTON SMITH, EDWIN ALYEA,
     Domina v. Monsanto Co., 3:16-cv-05887         ) BARRY BOYD, LAUREN PINTER-
25   Janzen v. Monsanto Co., 3:19-cv-4103          ) BROWN, RON SCHIFF, AND BRENT
     Pollard v. Monsanto Co., 3:19-cv-4100         ) STAGGS IN WAVE ONE CASES ON
26
     Tanner v. Monsanto Co., 3:19-cv-04099         ) DAUBERT GROUNDS
27                                                 )

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       MONSANTO COMPANY’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PORTIONS OF MOTION
      AND SUPPORTING EXHIBITS 3:16-MD-02741-VC; 3:18-CV-05778; 3:16-CV-05750; 3:16-CV-05751; 3:16-CV-
      05752; 3:17-CV-01735; 3:19-CV-01630; 3:16-CV-003199; 3:16-CV-07364; 3:16-CV-06025; 3:19-CV-04102; 3:16-
                               CV-05887; 3:19-CV-4103; 3:19-CV-4100; 3:19-CV-04099.
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 1          Pursuant to Civil Local Rules 79-5 and 7-11 and the Amended Protective and Confidentiality

 2   Order entered by the Court on September 6, 2017 (“Amended Protective Order’) at ¶ 18, as well as

 3   Fed. R. Civ. P. 5.2, Defendant Monsanto Company (“Monsanto”) seeks permission to file under seal

 4   discrete portions of its Motion to Exclude Testimony of Specific Causation Experts Charalambos

 5   Andreadis, Clayton Smith, Edwin Alyea, Barry Boyd, Lauren Pinter-Brown, Ron Schiff, and Brent

 6   Staggs in Wave One Cases on Daubert Grounds, and also discrete portions of the supporting exhibits

 7   to that motion, in the above-captioned actions, as described in the accompanying Declaration of Brian

 8   L. Stekloff.

 9          Monsanto has filed conditionally under seal portions of its motion and supporting exhibits that

10   contain information about medical conditions and/or other personally identifiable information of

11   plaintiffs and other individuals. Monsanto has redacted social-security numbers and dates of birth

12   pursuant to Federal Rule of Civil Procedure 5.2.. In addition, Co-Lead Counsel for Plaintiffs in this

13   litigation requested that addresses and all medical information for all Plaintiffs, other than the fact of

14   NHL diagnosis and the treatment for that condition, be redacted, pursuant to the Amended Protective

15   Order. Plaintiffs are therefore the “Designating Party” for such information under Local Rule 79-

16   5(e). All of these redactions are indicated by red boxes. In support of this request, attached hereto is

17   a Declaration from Brian L. Stekloff specifically describing the proposed redactions and a Proposed

18   Order granting Monsanto’s motion.

19                                               CONCLUSION

20          Monsanto respectfully requests that the Court grant its Administrative Motion to File Under

21   Seal Portions of its Motion for Summary Judgment and Supporting Exhibits.

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                               CV-05887; 3:19-CV-4103; 3:19-CV-4100; 3:19-CV-04099.
          Case 3:16-md-02741-VC Document 8510 Filed 12/20/19 Page 3 of 4



 1   DATED: December 20, 2019

 2                                                 Respectfully submitted,

 3                                                 /s/ Brian L. Stekloff___________

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          Case 3:16-md-02741-VC Document 8510 Filed 12/20/19 Page 4 of 4



 1
                                       CERTIFICATE OF SERVICE
 2
            I HEREBY CERTIFY that on this 20th day of December, 2019, a copy of the foregoing was
 3
     filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all
 4
     appearing parties of record.
 5
                                                   /s/ Brian L. Stekloff
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